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UNITED STATES DISTRICT COURT

DISTRICT OF CONNECTICUT

SCOTT POWELL

VS. CIVIL ACTION NO.
ANDREA ALEXANDER,

WILLIAM FERRI, MARC DeFELICE, — :

RICKY DIEHL and CYNTHIA DIEHL ~ : OCTOBER 3, 2016

COMPLAINT

1. This is an action to redress the deprivation of rights secured to the
plaintiff by the Constitution and laws of the United States and the State of
Connecticut.

2. Jurisdiction of this court is invoked under the provisions of Sections
1331, 1343(3) and 1367(a) of Title 28 and Sections 1983 and 1988 of Title 42 of
the United States Code.

3. The plaintiff is an adult citizen of the United States who resides in New
Canaan, Connecticut.

4. The defendants Andrea Alexander, William Ferri and Marc DeFelice
are officers in the New Canaan Police Department who at all times herein

mentioned were acting in their capacities as such. They are sued only in their

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individual capacities.

5. During all times mentioned in this Complaint, the defendants
Alexander, Ferri and DeFelice were acting under color of law, that is, under color
of the constitution, statutes, laws, rules, regulations, customs and usages of the
State of Connecticut.

6. The defendants Ricky Diehl and Cynthia Diehl are adult citizens of the
United States who reside at 356 Newtown Turnpike in Wilton, Connecticut.

7. Although the defendants Ricky Diehl and Cynthia Diehl are private
citizens, during the course of the events hereinafter described they acted jointly,
in concert, and in conspiracy with the defendants Alexander and Ferri to
accomplish the unlawful objectives hereinafter described. During the course of
said actions, defendants Diehl and Diehl exercised such extreme influence over
the defendants Alexander and Ferri that the actions of defendants Diehl and
Diehl also were taken under color and pretense of law and constituted state
action.

8. At all times mentioned in this Complaint, the defendants acted jointly
and in concert and in conspiracy with each other.

9. At all times herein mentioned, the defendants Alexander, Ferri and
DeFelice had the duty and the opportunity to protect the plaintiff from the

unlawful actions of the other defendants, and the defendant DeFelice had the
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duty and the opportunity to protect the plaintiff from the unlawful actions of the
defendants Alexander and Ferri, but they failed and refused to perform such
duty, thereby proximately causing the injuries herein complained of.

10. The plaintiff is the father of two minor daughters. He is divorced from
their mother.

11. The defendants Diehl! and Diehl are the parents of the plaintiff's
former wife and the maternal grandparents of the plaintiff's daughters.

12. In 2011, the defendants Diehl and Diehl and their daughter, the
plaintiff's former wife, conspired and colluded together to cause the plaintiff's
daughters to make false accusations of child abuse against the plaintiff.

13. In 2011, in Docket Number CP-11-002386-A and Docket Number CP-
11-002387-A, the Connecticut Superior Court after an extensive evidentiary
hearing and evaluations and reports by expert witnesses, awarded full custody of
the minor children to the plaintiff and further ordered that the defendants Diehl
and Diehl were not to have any contact with the said minor children. The said
orders were based, among other things, on expert evidence that the defendants
Diehl and Diehl and their daughter were inflicting upon the said minor children
severe neglect including factitious disorder not otherwise specified (Muchausen
by Proxy), parental enmeshment, educational and emotional neglect, and

parental alienation. The expert witness whose testimony was relied upon by the
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court, Eric Frazer, Psy.D., had further recommended that the children have no
communication with or access to the defendants Diehl and Diehl under any
circumstances.

14. In 2011, Sergeant Carol Ogrinc and other officers of the New Canaan
Police Department had participated with the Connecticut Department of Children
and Families in an extensive investigation of the false accusations described in
Paragraph 12 and concluded that the allegations were fabricated and
unfounded. All of this was reduced to writing and was maintained in the files of
the New Canaan Police Department which files were available to the defendants
Alexander, Ferri and DeFelice at the time of the events hereinafter described.

15. On the evening of March 19-20, 2016, the plaintiff's daughters
attended a sleepover at the home of a friend. At some time that evening, the
defendants Diehl and Diehl took the two children into their custody and control in
direct and knowing violation of the aforesaid court orders.

16. At approximately 12:43 p.m. on March 20, 2016, the defendants Diehl
and Diehl took the children to the headquarters of the New Canaan Police
Department and there met with the defendants Alexander and Ferri.

17. After meeting with the defendants Diehl and Diehl and the two
children, the defendants Alexander and Ferri, with the knowledge and approval

of the defendant DeFelice, knowingly, maliciously and in conscious disregard of
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the law and even of the policies of their own department, and at the specific
request of the defendants Diehl and Diehl, turned custody of the children over to
the defendants Diehl and Diehl.

18. Throughout the remainder of the day and evening of March 20, 2016,
the plaintiff, having discovered that his daughters had been kidnaped, repeatedly
telephoned the New Canaan Police Department to report their disappearance
and seek assistance. On every such occasion, pursuant to instructions issued
by the defendants Alexander and Ferri, the true whereabouts of the children was
concealed from the plaintiff by the officers of the New Canaan Police Department
all of whom stated to the plaintiff only that his children were “in a safe place”
without disclosing the reality that they had been given to the very people whom
the court had ordered not to have custody of them.

19. The plaintiff contemporaneously contacted the Connecticut
Department of Children and Families to report that his children were missing and
that New Canaan police officers appeared to have some knowledge of their
whereabouts which they were concealing from him. In response, Timothy
Welsh, a knowledgeable investigator from the Department of Children and
Families contacted defendant DeFelice at the New Canaan Police Department.
Defendant DeFelice asked the DCF “to stall in getting back to [the plaintiff] so

[defendants Diehl and Diehl] can file an ex parte motion in court.” Mr. Welsh not
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only refused to participate in the conspiracy and informed the police that their
actions were unethical, improper, and possibly criminal.

20. Having been given the children by defendants Alexander and Ferri,
the defendants Diehl and Diehl took the children with them and went into hiding,
thus preventing the plaintiff and the officials of the Department of Children and
Families from finding the children.

21. On March 21, 2016, while continuing to illegally hold and conceal the
children, defendants Diehl and Diehl prepared, signed and swore to affidavits in
which they knowingly, maliciously, and falsely swore that the children had told
New Canaan police officers in their presence that the plaintiff was subjecting
them to physical, emotional and sexual abuse and further falsely and maliciously
stating that the plaintiff was a danger to their lives. The affidavits further
concealed from the court the fact that in 2011 the court not only had awarded
sole custody of the children to the plaintiff but had ordered that the children not
have contact with defendants Diehl and Diehl and that, indeed, the court had
determined that the defendants Diehl and Diehl were themselves an immediate
danger to the mental, emotional and physical health and wellbeing of the
children.

22. On the basis of the said false affidavits, the Connecticut Superior

Court issued an ex parte order placing the children in the custody of the
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defendants Diehl and Diehl and restraining the plaintiff from having contact with
them.

23. The actions of the defendants Alexander, Ferri and DeFelice
described above, including the instructions they gave to other officers of the New
Canaan Police Department to conceal the childrens’ whereabouts from the
plaintiff, were taken for the specific purpose of assisting the defendants Diehl
and Diehl to obtain fraudulently the ex parte court order described in Paragraph
22.

24. Thereafter, at great expense, the plaintiff retained counsel who
conducted evidentiary hearings in March and April 2016 at the conclusion of
which the court, in Docket Number FST-FA-XX-XXXXXXX-S, restored full custody
of the children to the plaintiff and revoked all of the ex parte orders fraudulently
obtained by the defendants.

25. As a result of the foregoing wrongful actions of the defendants, the
plaintiff was deprived of his children for a period of many weeks, was caused to
suffer severe emotional distress and anguish, and was caused to incur
substantial legal expenses.

26. In the manner described above, the defendants intentionally and
maliciously interfered with and deprived the plaintiff of his right to family

association with his children, a right secured to the plaintiff by the First, Fourth,
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Ninth and Fourteenth Amendments to the United States Constitution as enforced
through Sections 1983 and 1988 of Title 42 of the United States Code.

27. In the manner described above, the defendants Diehl and Diehl
maliciously and without probable cause instituted against the plaintiff the above-
described civil action bearing Docket Number FST-FA-XX-XXXXXXX-S, which
litigation was terminated in the plaintiff's favor, and thereby committed the tort of
vexatious litigation in violation of the common law of the State of Connecticut.

28. The conduct of all the defendants described above was extreme and
outrageous and was carried out with full knowledge that it would cause the
plaintiff to suffer emotional distress. It therefore constituted the tort of intentional
infliction of emotional distress in violation of the common law of the State of
Connecticut.

WHEREFORE, the plaintiff claims judgment against the defendants and
each of them, jointly and severally, for compensatory damages, punitive
damages, attorney fees and costs.

The plaintiff claims trial by jury.

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THE PLAINTIFF

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